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                                                      November 6, 2020

BY ECF

Honorable Katharine H. Parker
United States Magistrate Judge
Southern District of New York
500 Pearl Street, Suite 1950                                                               11/8/2020
New York, New York 10007

       Re:     City of Almaty, Kazakhstan, et ano. v. Felix Sater, et al.,
               Case No. 19 Civ. 2645 [rel. 15 Civ. 5345] (AJN) (KHP)

Dear Judge Parker:

        We represent the City of Almaty, Kazakhstan and BTA Bank (the “Kazakh Entities”) and
write to update the Court concerning the response to a third-party document subpoena by Moses
& Singer LLP. As we explained in our prior update, [ECF No. 226,] the meet and confer process
in securing a complete response to the subpoena is ongoing, and we did not feel a motion to
compel was the most appropriate use of judicial resources at that time.

       While we had hoped to be ready by now to propose a briefing schedule to the Court on a
motion to compel, we still feel doing so at this moment may be premature. To date, Moses &
Singer has produced a total of six pages of responsive records, and we have identified responsive
evidence missing from its prior production. While Moses & Singer has continued to engage in a
meet and confer process and to some extent has been responding to our specific inquiries (albeit
without any further productions), we remain skeptical that this months-long process will finally
conclude absent Court intervention.

       In an effort to bring this process to some conclusion, we attempted to engage with
someone other than Robert Wolf at Moses & Singer, who as the Court is aware is the lawyer
who has represented Felix Sater and his entities in a number of matters. We suggested that we
speak with the firm’s general counsel, for example, but were told by Mr. Wolf that Moses &
Singer has no general counsel, notwithstanding the fact that one is clearly identified on the firm’s
website.1 Finally, earlier today, Mr. Wolf agreed to hand off responsibility for responding to the
subpoena to one of his partners, who has not yet been identified.

        We have also asked for a suggested deadline by which Moses & Singer would complete
its production and to agree to a proposed briefing schedule, in the event a motion is necessary.
Mr. Wolf asked for an additional week to provide its estimated deadline, in part because of what
Mr. Wolf explained were particularly disruptive effects of COVID-19 at his firm, and in part to

1
        See https://www.mosessinger.com/attorneys/devika-kewalramani. As the Court may
recall, Mr. Wolf actually testified about this partner, whom he referred to as Moses & Singer’s
“ethics counsel,” in the related case. See 8/8/2019 Hearing Tr. at 84, City of Almaty v. Ablyazov,
No. 15 Civ. 5345 (AJN) (KHP).
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give the new partner who will be handling the subpoena time to get up to speed. Mr. Wolf
represented to us that the firm will have a reasonable estimate of the time needed to complete its
response to the subpoena for us to include in another status update to the Court next Friday.

       Accordingly, with the Court’s permission, next Friday, November 13, we will provide an
agreed-upon deadline for the subpoena response and a proposed briefing schedule for a motion to
compel or quash, should one become necessary.

       We thank the Court for its attention to this matter.

                                                     Respectfully,

                                                      /s/ Craig Wenner
                                                     Craig Wenner

cc:    All Counsel of Record (by ECF)
       Robert Wolf, Esq. (Moses & Singer LLP) (by email)




                                                                     Date: November 8, 2020




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